UNITED STATES OF AMERICA

Vv.

RAMON VILLARREAL HERNANDEZ (05)
a/k/a “El Mon”

| a/k/a “Gabino”

B
The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 314P(e) and o:

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to believe that the Defendant has committed:
A Controlled Substance Offense punishable by 10 or more years imprisonment

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No. 4:14-CR-151-Y

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

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NORTHERN DISTRICT OF °

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RK, U.S. DISTRICT COURT

 

Deputy

1. Eligibility of Case: This case is eligible for a detention order because the case involves:

Crime of violence [18 U.S.C. § 3156]

Maximum sentence of LIFE imprisonment or death
Controlled Substance offense punishable by 10 or more years
Felony with 2 prior convictions in above categories

Felony involving a minor victim

Felony involving the possession or use of a firearm, destructive device, or other dangerous weapon
Felony involving a failure to register under 18 U.S.C. § 2250

Serious risk that the Defendant will flee

Serious risk that Defendant will obstruct justice

2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which
would reasonably assure:

Defendant's appearance as required

The safety of the community

[= The safety of another person

3. The United States will not invoke the rebuttable presumption against the Defendant because: there is probable cause

A firearms offense under 18 U.S.C. § 924(c)

A federal crime of terrorism punishable by 10 or more years imprisonment
A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

A Felony involving a failure to register under 18 U.S.C. § 2250

The Defendant has previously been convicted of an offense described in 18 USC § 3142(f)(1) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction.

4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing
= After a continuance of _3_ days.

at the Defendant's first appearance

Respectfully submitted,

ERIN NEALY COX

UNITED STATES ATTORNEY

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AISHA SALEEM

Assistant United States Attorney
Texas State Bar No. 00786218

Burnett Plaza, Suite 1700

801 Cherry Street, Unit #4

Fort Worth, Texas 76102
Tel: 817.252.5200
 

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading was this day served upon the Defendant or his counsel of
record in accordance with the provisions of Rule 49 of the Federal Rules of Criminal Procedure.

DATE: March 2, 2020 % — 0)

AISHA SALEEM
Assistant United States Attorney
